     Case 2:05-cr-00152-RSL              Document 84     Filed 06/22/05         Page 1 of 3



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10                                              THE HONORABLE ROBERT S. LASNIK
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20                           UNITED STATES DISTRICT COURT
21                          WESTERN DISTRICT OF WASHINGTON
22                                    AT SEATTLE
23
24   UNITED STATES OF AMERICA,
25                                                      NO. CR05-152 RSL
26                          Plaintiff,
27                                                      ORDER GRANTING STIPULATED
                    v.                                  MOTION TO
                                                        CONTINUE TRIAL
     LAM PHAM ,
                            Defendant.
            THIS MATTER HAVING COME on/or before the undersigned Judge, upon the

     application of the defendant in this matter for an order continuing trial, and the court

     having considered the records and files herein.

            THE COURT HAVING FOUND that counsel for the defendant, counsel for all

     co-defendants, and counsel for the government agree that a continuance of the trial date is
     ORDER GRANTING STIPULATED                          LAW OFFICES OF JOHN HENRY BROWNE, P.S.
                                                                        2100 EXCHANGE BUILDING
     MOTION TO CONTINUE TRIAL - 1                                            821 SECOND AVENUE
                                                                        SEATTLE, WASHINGTON 98104
                                                                     (206) 388-0777 • FAX: (206) 388-0780
     Case 2:05-cr-00152-RSL           Document 84        Filed 06/22/05         Page 2 of 3



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 6   necessary, that additional time is required to review recently received discovery, prepare
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 8   for trial, and entertain plea negotiations, and that continuing the trial date on the ground
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10   that the "ends of justice served by taking such action outweigh the best interest of the
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12   public and the defendant in a speedy trial," as permitted by 18 U.S.C. §§ 3161(h)(8)(A)
13
14   (B)(ii) and (B)(iv).
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16
17           IT IS HEREBY ORDERED that the trial date in this matter is continued from
18
19   June 20, 2005 to September 19, 2005.
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21           IT IS FURTHER ORDERED that the period of time from the current trial date of
22
23   June 20, 2005 to September 19, 2005 is excluded in calculating the time within which
24
25   trial must begin under the Speedy Trial Act pursuant to 18 U.S.C. §3161(h)(8)(A).
26
27
                     DONE IN OPEN COURT 22nd day of June, 2005.

                                                                    A
                                                                    Robert S. Lasnik
                                                                    United States District Judge

                                                                 Presented by:
                                                                       Lam Pham, represented by:
                                                                            LAW OFFICES OF
                                                                       JOHN HENRY BROWNE
     ORDER GRANTING STIPULATED                          LAW OFFICES OF JOHN HENRY BROWNE, P.S.
                                                                        2100 EXCHANGE BUILDING
     MOTION TO CONTINUE TRIAL - 2                                            821 SECOND AVENUE
                                                                        SEATTLE, WASHINGTON 98104
                                                                     (206) 388-0777 • FAX: (206) 388-0780
     Case 2:05-cr-00152-RSL   Document 84   Filed 06/22/05         Page 3 of 3



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 6                                                                    s/ Jessica Riley
 7                                                                  WSBA # 32705
 8                                                          2100 Exchange Building
 9                                                        Seattle, Washington 98104
10                                                            Phone: 206-388-0777
11                                                               Fax: 206- 388-0780
12
13
14                                                   Approved for entry:
15                                                  Plaintiff, USA, represented by:
16                                     UNITED STATES ATTORNEY’S OFFICE
17                                          s/ Patricia Lally, AUSA via telephonic
18                                                                         approval
19                                                                  WSBA #28910
20                                                               700 Stewart Street
21                                                      Seattle, Washington 98101
22                                                            Phone: 206-553-2619
23                                                               Fax: 206-553-4440
24                                                        Patricia.Lally@usdoj.gov
25
26
27




     ORDER GRANTING STIPULATED              LAW OFFICES OF JOHN HENRY BROWNE, P.S.
                                                           2100 EXCHANGE BUILDING
     MOTION TO CONTINUE TRIAL - 3                               821 SECOND AVENUE
                                                           SEATTLE, WASHINGTON 98104
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